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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,
     Plaintiff,

v.

NICHOLAS A. WALKER,

      Defendant.                                      Case No. 07-cr-40032-7-DRH


                                       ORDER

HERNDON, District Judge:

             On September 13, 2007, the Court conducted a hearing on defendant

Walker’s Motion for Medical Treatment (Doc. 112). During the hearing, Defendant’s

counsel explained that Defendant had underwent brain surgery prior to being

arrested and detained and thus, due to Defendant’s current mental state, believed

follow up medical treatment necessary. The Government did not disagree that

Defendant likely needed medical treatment, but also did not believe he was unfit to

stand trial. Ultimately, the parties reached a consensus that the best remedy at the

time was to arrange for Defendant to undergo a psychiatric examination, a part of

which would include a neurological evaluation to determine if follow up medical

treatment is required. Thus, the Court hereby ORDERS as follows:

             A psychiatric examination of defendant Nicolas A. Walker shall be

conducted by a licensed or certified psychiatrist at an institution to be designated by

the Attorney General. The examination shall be completed within 45 days unless

an extension of this time is granted by the Court. A psychiatric report shall be
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filed with this Court in accordance with Title 18 U.S.C. § 4247(c), with copies to

counsel, which shall include:

             1.     The Defendant's history and present symptoms.

             2.     A description of the psychiatric and medical tests that were
                    employed and their results.

             3.     The examiner's findings as to whether the Defendant is suffering
                    from a mental disease or defect rendering him mentally
                    incompetent to the extent that he is unable to understand the
                    nature and consequences of the proceedings against him or to
                    assist properly in his defense.

             4.     The examiner should be aware of and consider the Defendant’s
                    prior head trauma and treatment at Barnes Hospital in St. Louis,
                    as well as a possible prior treatment for bi-polar disorder.

             The United States Marshal shall transport the Defendant to the

institution designated by the Attorney General and upon completion of the

examination, return him to the Court for a hearing in accordance with the provisions

of Title 18 U.S.C. § 4241(a) and (c) and 4247(d).

             The 45 days allowed for the examination under this Order shall begin

on the day the Defendant is first physically present at an institution designated by the

Attorney General.

             IT IS SO ORDERED.

             Signed this 13th day of September, 2007.

                                                       /s/    DavidRHerndon
                                                       United States District Judge




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